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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

RONALD SATISH EMRIT,                               )
                                                   )
     Plaintiff,                                    )
                                                   )
v.                                                 )      CIVIL ACTION NO. 1:23-00002-KD-B
                                                   )
CONDOLEEZA RICE, et al.,                           )
                                                   )
     Defendants.                                   )

                                              ORDER

       After due and proper consideration of all portions of this file deemed relevant to the

issues raised, and no objections having been filed, the Report and Recommendation of the

Magistrate Judge made under 28 U.S.C. § 636(b)(1)(B), Federal Rule of Civil Procedure 72(b),

and S.D. Ala. GenLR 72(a), and dated May 11, 2023 (doc. 5), is ADOPTED as the opinion of

this Court.

       Accordingly, Plaintiff Ronald Satish Emrit’s in forma pauperis application is DENIED as

MOOT and this action is DISMISSED with prejudice pursuant to 28 U.S.C. § 1915(e)(2)(B)(i)-

(ii) as frivolous and for failure to state a claim on which relief can be granted.

       Final judgment shall be entered by separate document in accordance with Federal Rule of

Civil Procedure 58.

       DONE and ORDERED this the 8th day of June 2023.



                                                       /s/ KristiK.DuBose
                                                       KRISTI K. DuBOSE
                                                       UNITED STATES DISTRICT JUDGE
